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                  IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION

CITY OF DALLAS,                 §
                                §
           Plaintiff,           §
                                §
v.                              §                  Civil Action No. 3:15-CV-2069-K
                                §
DELTA AIRLINES, INC., SOUTHWEST §
AIRLINES CO., VIRGIN AMERICA    §
INC., AMERICAN AIRLINES, INC.,  §
UNITED AIRLINES, INC., SEAPORT  §
AIRLINES, INC., UNITED STATES   §
DEPARTMENT OF TRANSPORTATION, §
and THE FEDERAL AVIATION        §
ADMINISTRATION,                 §
                                §
           Defendants.          §

                                          ORDER

      This case is currently set on the Court’s three (3) week docket beginning

September 9, 2029. The Court hereby continues the current trial setting to the

Court’s three (3) week docket beginning February 3, 2020. The following deadlines

set forth in the Court’s Scheduling Order (Doc. No. 566) are hereby modified. The

required Rule 26(a) disclosures as set forth in Paragraph 9 must be made by December

23, 2019. The pretrial materials set forth in Paragraph 11 must be filed with the Court

on or before January 13, 2020. Finally, the requirements set forth in Paragraphs 13




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and 14 will follow the same deadlines. Any other deadlines not expressly continued or

extended in this Order remain unchanged.

      SO ORDERED.

      Signed August 7th, 2019.

                                       ______________________________________
                                       ED KINKEADE
                                       UNITED STATES DISTRICT JUDGE




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